4:09-cr-03117-RGK-CRZ       Doc # 239   Filed: 11/19/12   Page 1 of 1 - Page ID # 1858




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )                 4:09CR3117
                                         )
             V.                          )
                                         )
TRAVES RUSH,                             )                MEMORANDUM
                                         )                 AND ORDER
                    Defendant.           )
                                         )


      Traves Rush has filed a Motion to Vacate under 28 U.S.C. § 2255. After initial
review I will deny the motion.


      Rush’s motion refers to a “Memorandum of Law and Facts Supporting 2255
Motion” and “Affidavit” that “will be sent here (sic) after.” (Filing no. 238 at
CM/ECF p. 4.) However, no such documents have been filed, and the motion does
not set forth any grounds for vacating the conviction or sentence. The motion is
therefore insufficient on its face.


      IT IS ORDERED that the Motion to Vacate under 28 U.S.C. § 2255 (filing no.
238) is denied with prejudice. A separate judgment will be issued.

      DATED this 19 th day of November, 2012.

                                        BY THE COURT:

                                        Richard G. Kopf
                                        Senior United States District Judge
